UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In Re:

         SEAN M. DUNN,                               Case No. 18-36566-cgm
                                                     (Chapter 7)

                         Debtor.


                    NOTICE OF APPEARANCE WITH REQUEST FOR COPIES
                        OF ALL ORDERS, NOTICES, AND PLEADINGS
                      UNDER BANKRUPTCY RULES 2002(g) AND 9010(b)

         Ford Motor Credit Company LLC, a creditor in the above-captioned case, hereby appears and

requests, pursuant to Bankruptcy Rules 2002(g) and 9010(b), that (1) it receive copies of all notices,

pleadings, proposed orders and conformed copies of orders filed in this case; and that (2) all such

documents be directed to counsel at the address set forth below.


DATED:          August 14, 2019
                Latham, New York
                                                /s/ Martin A Mooney
                                                Martin A. Mooney, Esq. (MM 8333)
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TO:      Court Clerk
         355 Main Street
         Poughkeepsie, New York 12601

         Francis J. O'Reilly, Esq.
         1961 Route 6
         Carmel, New York 10512

         Office of the United States Trustee
         (Southern District of New York) (US Trustee)
         11A Clinton Ave, Room 620
         Albany, New York 12207

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